
In re Bridgett, Cornelius J.; Bridgett, Brenda A.; — Plaintiff(s); applying for writ of certiorari and/or review; to the Court of Appeal, Fourth Circuit, Nos. 93CA-1536, 94CA-0112; Parish of Orleans, Civil District Court, Div. “C”, No. 91-2465.
Denied.
WATSON, J.,
would grant the writs. The issue of general maritime law punitive damages should be decided by this court. This issue is pending in the U.S. Fifth Circuit, which granted a rehearing en banc in Guevara v. Maritime Overseas Corp., 34 F.3d 1279 (5th Cir.1994). This court should grant the writs pending decision of Guevara or decide the issue independently.
LEMMON, J., not on panel.
